            Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 1 of 10




 1                                                                 Honorable Marsha J. Pechman
 2

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   KING COUNTY, a Washington municipal
     corporation,                                         Case No. 2:14-cv-01957-MJP
10
                                      Plaintiff,          DECLARATION OF
11                                                        DAVID HOWENSTINE RE:
            v.                                            PROVIDENCE WASHINGTON
12                                                        INSURANCE COMPANY’S
     TRAVELERS INDEMNITY COMPANY, et                      OPPOSITION TO KING COUNTY’S
13   al.,                                                 MOTION FOR SUMMARY
                                                          JUDGMENT ON BAD FAITH
14                                 Defendants.
15

16   THE TRAVELERS INDEMNITY
     COMPANY, et al.,
17
                         Third-Party Plaintiffs,
18
            v.
19
     CONTINENTAL CASUALTY COMPANY,
20   et al.,
21                    Third-Party Defendants.
22
            I, David W. Howenstine, declare as follows:
23
            1.      I make this declaration based on personal knowledge and I am familiar with the
24
     facts stated herein. I am over the age of 18 and I am otherwise competent to testify.
25
            2.      I am an attorney at Lane Powell and represent Defendant Providence
26
     Washington Insurance Company (“Providence”) in this case. I have been actively involved in
27
                                                                                 LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     DECLARATION OF DAVID HOWENSTINE                                               P.O. BOX 91302
     (No. 2:14-cv-01957-MJP) - 1                                             SEATTLE, WA 98111-9402
                                                                           206.223.7000 FAX: 206.223.7107
              Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 2 of 10




 1   discovery matters for this case.

 2            3.     Attached as Exhibit A is a copy of the “Learn about Cleanup” page on the

 3   Lower Duwamish Waterway Group website, which is publicly available online at

 4   www.ldwg.org/learn.html (accessed May 9, 2016). The Lower Duwamish Waterway Group

 5   consists of the Port of Seattle, the City of Seattle, King County, and the Boeing Company. The

 6   “Learn about Cleanup” page states:

 7            Since 2000, the Lower Duwamish Waterway Group (LDWG) partners have
              worked under a voluntary agreement with the U.S. Environmental Protection
 8            Agency (EPA) and the Washington State Department of Ecology (Ecology) for
              a coordinated investigation of the Lower Duwamish Waterway (LDW)
 9            sediments.
10            4.     Attached as Exhibit B is a copy of a letter dated June 13, 2013 from King

11   County Executive Dow Constantine to the U.S. Environmental Protection Agency (“EPA”),

12   along with an attached letter from King County to the EPA with King County’s Detailed

13   Comments on EPA Proposed Plan for the Lower Duwamish Waterway on the EPA’s proposed

14   plan on the Lower Duwamish Waterway Superfund Site.               This declaration attaches only

15   excerpts from King County’s Detailed Comments. The letters and complete attachments are

16   publicly         available         online      at       the       LDWG              website              at

17   www.ldwg.org/Assets/FS/KingCounty_EPAProposedPlan_LDWComments.pdf (accessed May

18   9, 2016). In its Detailed Comments on the EPA’s proposed plan, King County includes the

19   following comment and request for revision at page 14:

20            The County, City, Port and Boeing initiated the discussions with EPA and
              Ecology to conduct a cleanup of the Waterway and voluntarily agreed to enter
21            into an Administrative Order on Consent with EPA and Ecology when, after an
              agreement in principle was reached, the Department of Justice insisted that the
22            site be formally listed under CERCLA. The text should reflect this unique and
              collaborative effort as it has bearing to the approach and the Early Actions. At a
23            minimum, the language should be modified by replacing “were issued” with
              “volunteered to enter into.”
24
              5.     Attached as Exhibit C is a copy of the “King County’s long-standing
25
     commitment to the Duwamish” page from King County’s website, which is publicly available
26
     online                at               www.kingcounty.gov/environment/wastewater/Duwamish-
27
                                                                                   LANE POWELL PC
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           Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 3 of 10




 1   waterway/Commitment.aspx (accessed May 9, 2016). This page includes a Duwamish

 2   Waterway timeline that describes Metro’s and King County’s historical knowledge of pollution

 3   at the Lower Duwamish Waterway and their historical efforts to clean up and test for pollution.

 4   The timeline begins in 1958 and has regular entries throughout the 1960s, 1970s, 1980s, 1990s,

 5   and 2000s, including the following entry:

 6          2000: Lower Duwamish Waterway Group forms to investigate Duwamish
            sediments: The Boeing Company, the City of Seattle, King County, and the Port
 7          of Seattle (the Lower Duwamish Waterway Group or LDWG) complete a
            voluntary agreement to begin investigation of the Lower Duwamish Waterway
 8          sediments, toward an ultimate waterway cleanup plan.
 9          6.     The original defendants in this case, Providence, Travelers, and Hartford,

10   prepared a collection of initial discovery requests to King County, which included 26 requests

11   for production. On May 20, 2015, Travelers served these discovery requests on King County.

12          7.     On June 19, 2015, King County responded to the discovery requests and

13   asserted numerous objections to production. Attached as Exhibit D is a copy of King County’s

14   objections and responses. Despite its numerous objections and assertions of privilege, King

15   County did not produce a privilege log or otherwise identify the documents withheld. The only

16   documents the County produced with its June 19, 2015 objections and responses were copies of

17   insurance policies that had already been produced to defendants.

18          8.     On July 2, 2015, the defendants scheduled a meet-and-confer with King County

19   about its discovery objections and responses in an attempt to cooperatively resolve the

20   County’s objections. Although the County agreed to produce a limited number of additional

21   documents, the County refused to withdraw the majority of its objections.

22          9.     Since its initial response on June 19, 2015, the County has produced, on a

23   rolling basis on June 23, 2015, August 11, 2015, and August 18, 2015, copies of

24   communications between King County and the respective defendants, as well as a limited

25   number of communications between the County and certain other insurers.

26          10.    To date, however, the County has otherwise failed to produce other responsive

27   documents requested in the discovery requests, including documents it stated would be
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            Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 4 of 10




 1   produced in its June 19, 2015 responses. Notably, the County has not produced any documents

 2   regarding its alleged costs and/or damages.

 3          11.     The County has also still not produced a privilege log.

 4          12.     On August 14, 2015, the Court denied King County’s motion to bifurcate.

 5          13.     On August 17, 2015, the defendants followed-up with King County to request

 6   that the County withdraw its objections to discovery and promptly supplement its production

 7   based on the Court’s ruling. On August 18, 2015, counsel for the County stated that the County

 8   was “revisiting” the discovery requests, but needed “to identify responsive documents and

 9   prepare and circulate a protective order” and that it would respond “in due course.” The

10   defendants again followed-up about the timing of the County’s supplementation and whether

11   there were categories of documents that it would still refuse to produce.             I specifically

12   requested that the County provide a date certain for the supplementation, explaining that “the

13   County’s pending motion for summary judgment makes it necessary for us to know more than

14   that the County will supplement ‘in due course’ so that we can evaluate our options in

15   responding to the County’s motion.” The County did not respond and did not circulate a draft

16   protective order. Attached as Exhibit E is a copy of the e-mail exchange between the parties.

17          14.     One of the primary alleged impediments to discovery in this case was the

18   County’s argument that the case should be bifurcated and its assertion that it had no obligation

19   to produce documents or participate in discovery relevant to the defendants’ claims and

20   defenses until the Court ruled on its motion to bifurcate. Because the County refused to

21   meaningfully respond to the defendants’ discovery requests, the defendants have not yet had an

22   opportunity to review potentially critical, undisclosed documents or to schedule or prepare for

23   any depositions in this case.

24          15.     Now that the Court has denied the County’s motion to bifurcate and the Court

25   approved a new case schedule and case management plan, it is expected that the County will

26   withdraw its previous objections and provide meaningful responses to the defendants’ initial

27   discovery requests. If the County continues to refuse to respond, however, it is likely that the
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            Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 5 of 10




 1   defendants will move to compel and the Court will be called on to resolve any outstanding

 2   discovery dispute. Once the County produces documents or the discovery dispute is resolved

 3   by the Court, Providence will be able to determine whether follow-up written discovery is

 4   necessary and will be able to begin scheduling depositions of witnesses.

 5          16.      At the time King County filed its motion for summary judgment against

 6   Providence, however, the Court had not yet denied the County’s motion to bifurcate and the

 7   County had not meaningfully responded to the defendants’ discovery requests.

 8          17.      Before this Court could grant King County’s motion for summary judgment,

 9   Providence should be able to complete its factual and expert discovery concerning the

10   numerous disputed issues in this case. At a minimum, Providence should be permitted to

11   obtain substantive responses to the initial discovery requests that were served in May 2015, to

12   conduct follow-up written discovery as appropriate, and to conduct depositions of a 30(b)(6)

13   representative of King County, of persons who handled the tender and post-tender

14   communications, including John Bjorkman and possibly Jennifer Hillis, and of persons who

15   have knowledge of the cleanups and related matters, including William Blakney, who filed a

16   declaration in support of the County’s motion for summary judgement but was not identified in

17   the County’s initial disclosures.

18          18.      It is difficult to predict exactly what facts and evidence will be revealed through

19   discovery, but the specific facts and evidence that Providence expects to uncover through

20   written discovery and depositions include, but are not limited to, the following:

21                a. The circumstances that led to King County’s decision to delay tender by 13

22                   years, including whether the County intentionally violated its cooperation

23                   obligations and deliberately failed to notify Providence so that it could exercise

24                   exclusive control without interference from any insurers;

25                b. The prejudice caused by King County’s late tender and its handling of the

26                   matters;

27                c. The rates, amount, and reasonableness of fees and costs charged by King
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            Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 6 of 10




 1                   County’s attorneys, including K&L Gates, and any other representatives or

 2                   consultants;

 3                d. King County’s post-tender actions and unclean hands, including whether the

 4                   County acted intentionally in an attempt to set up Providence for a bad faith

 5                   claim in violation of its statutory good faith obligations;

 6                e. The alleged relationship between King County and Metro, including Metro’s

 7                   separate insurance program and any settlements under Metro insurance policies;

 8                f. Whether King County experienced any actual harm as a result of the alleged bad

 9                   faith actions of Providence;

10                g. Any selective tenders, settlements, and policy releases made by King County

11                   before its tender to Providence in July 2013;

12          19.      As explained in Providence’s opposition to King County’s motion for summary

13   judgment, these facts and discovery are essential to oppose summary judgment and weigh

14   directly on the legal issues in dispute. Moreover, it is King County, not defendants, who are in

15   possession of this information.

16          20.      To date, the County refuses to provide counsel access to the document-sharing

17   site or copies of any documents allegedly added at unknown dates. When I requested access to

18   the document-sharing site, I was told that the County “expressly reserves all of its rights as to

19   any claims of any kind arising out of Providence making these documents available to [me] or

20   any other person.” This unusual response suggested to me that King County would somehow

21   attempt to hold me and/or Providence liable if I attempted to access the document-sharing site.

22   My understanding is that Travelers received a similar response. Accordingly, the defendants

23   requested the documents on the document-sharing site via discovery. King County has not

24   produced any such documents. On July 27, 2015, the County stated that it had withdrawn all

25   access to the document-sharing site.

26          21.      Attached as Exhibit F are excerpts from the Verbatim Report of Proceedings of

27   the August 11, 2014 hearing before this Court on King County’s motion to bifurcate. These
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 1   excerpts include pages 1, 5-6, 13, and 44.

 2          22.     Attached as Exhibit G is a copy of the Memorandum of Agreement Between

 3   the Port of Seattle, the City of Seattle, and King County Regarding the East Waterway

 4   Operable     Unit   of   the   Harbor    Island   Superfund   Site    Supplemental          Remedial

 5   Investigation/Feasibility Study, dated March 27, 2006. This Memorandum of Agreement was

 6   provided with King County’s July 19, 2013 letter. This document was produced by the County

 7   and marked as KC_Docs_001425-1435.

 8          23.     Attached as Exhibit H is a copy of the Alternative Dispute Resolution

 9   Memorandum of Agreement, which governs the allocation mediation proceedings.                       This

10   document was produced by the County and marked as KC_Docs_001242-1300.

11          24.     Attached as Exhibit I is a copy of the Settlement Agreement between King

12   County and the City of Seattle in the City of Seattle v. The Boeing Company lawsuit. This

13   settlement was provided with King County’s July 19, 2013 letter. This document was produced

14   by the County and marked as KC_Docs_001500-1506.

15          25.     Attached as Exhibit J is a copy of a Settlement Agreement and Release dated

16   February 9, 1998. This settlement and release was entered into by King County and Continental

17   Casualty Company, Phoenix Assurance Company of New York, Commercial Insurance

18   Company of Newark, New Jersey, Pacific Insurance Company, and Transcontinental Insurance

19   Company with respect to 13 insurance policies issued to Metro. This document was produced

20   by the County and marked as KC_Docs_001051-1060.

21          26.     Attached as Exhibit K is a copy of a Settlement Agreement and Release dated

22   July 17, 1997. This settlement and release was entered into by King County and American

23   Home Assurance Company, the Insurance Company of the State of Pennsylvania, Granite State

24   Insurance Company, National Union Fire Insurance Company of Pittsburgh, PA., and New

25   Hampshire Insurance Company with respect to 38 policies issued to Metro.

26

27
                                                                                 LANE POWELL PC
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            Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 8 of 10




 1           I declare under penalty of perjury under the laws of the United States that the foregoing

 2   is true and correct.

 3           DATED: May 13, 2016.

 4

 5
                                           s/ David Howenstine
 6                                           David Howenstine
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                                                                                 LANE POWELL PC
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            Case 2:14-cv-01957-BJR Document 192 Filed 05/13/16 Page 9 of 10




 1                                  CERTIFICATE OF SERVICE

 2          I, certify that I electronically filed the foregoing document with the Clerk of the Court

 3   using the CM/ECF system, which will send notification of such filing to:

 4
     Attorneys for Plaintiff                         Attorneys for Defendant Hartford Accident
 5                                                   and Indemnity Company; Twin City Fire
     John Bjorkman                                   Insurance Company; and New England Re-
 6   Martha Rodriguez-Lopez                          Insurance Company
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17   and Surety Company (formerly known as           Company; and National Union Fire Insurance
     Aetna Casualty and Surety Company               Company of Pittsburgh, PA
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 2   Company, as successor to Insurance Company    Insurance Company
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 9
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                                                   Continental Insurance Company, in its own
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            DATED: May 13, 2016.
24
                                                s/ Kris Budigan
25                                                 Kris Budigan
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